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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


 ARCELORMITTAL PLATE LLC,
                  Plaintiff,

 v.                                                 Case No. 19-13527
                                                    Honorable Linda V. Parker

 LAPEER INDUSTRIES, INC., et al.
                    Defendant.
                                                /

                      ORDER STRIKING STIPULATION

       On May 5, 2021, Plaintiff’s counsel filed a Stipulation of Dismissal of

 Howmark, LLC with prejudice [ECF No. 119]. Pursuant to the E.D. Mich. Local

 Electronic Case Filing (ECF) Rule 12(a), a proposed stipulation and order must be

 submitted as a Word document to the judge to whom the case is assigned, via the

 link located under the Utilities section of the ECF system. The stipulation at issue

 is not in compliance with the rule.

       IT IS ORDERED that the Stipulation of Dismissal of Howmark, LLC with

 prejudice [ECF No. 119] is STRICKEN.


                                               S/ Linda V. Parker
                                               LINDA V. PARKER
                                               U.S. DISTRICT JUDGE

Dated: May 5, 2021
